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8
                           UNITED STATES DISTRICT COURT
9
                         CENTRAL DISTRICT OF CALIFORNIA
10

11   BERNHARD KÜHMSTEDT, an                         Case No.:
     individual,
12                                                     Plaintiff’s Complaint for:
     Plaintiff,
13                                                  1. Copyright Infringement
14   v.
                                                    2. Vicarious and/or Contributory
15                                                     Copyright Infringement
     ENTTECH MEDIA GROUP, LLC, a
16   Delaware limited liability company d/b/a
                                                    3. Violation of DMCA 17 U.S.C. §
17   “PAPERMAG.COM”; and DOES 1-10,
                                                       1202
     inclusive,
18                                                       Jury Trial Demanded
19
     Defendants.
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                                         COMPLAINT
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1           Plaintiff, Bernhard Kühmstedt (“Kühmstedt”), by and through his undersigned
2    attorneys, hereby prays to this honorable Court for relief based on the following:
3                               JURISDICTION AND VENUE
4           1. This action arises under the Copyright Act of 1976, Title 17 U.S.C., § 101 et
5    seq.
6           2. This Court has federal question jurisdiction under 28 U.S.C. § 1331 and 1338
7    (a) and (b).
8           3. Venue in this judicial district is proper under 28 U.S.C. § 1391(c) and 1400(a)
9    in that this is the judicial district in which a substantial part of the acts and omissions
10   giving rise to the claims occurred.
11                                          PARTIES
12          4. Kühmstedt is an individual residing in the Munich, Germany.
13          5. Kühmstedt is informed and believes and thereon alleges that Defendant
14   ENTtech Media Group, LLC, doing business as “Papermag.com” (“Papermag”) is a
15   Delaware Limited Liability Company that owns, oversees, and operates the website
16   www.papermag.com, and does business in and with California and this District,
17   including without limitation from offices in Los Angeles, California.
18          6. Kühmstedt is informed and believes and thereon alleges that Defendants
19   DOES 1 through 10, inclusive (collectively with Papermag, “Defendants”), are other
20   parties not yet identified who have infringed Plaintiff’s copyrights, have contributed
21   to the infringement of Plaintiff’s copyrights, or have engaged in one or more of the
22   wrongful practices alleged herein. The true names, whether corporate, individual or
23   otherwise, of Defendants 1 through 10, inclusive, are presently unknown to
24   Kühmstedt, which therefore sues said Defendants by such fictitious names, and will
25   seek leave to amend this Complaint to show their true names and capacities when
26   same have been ascertained.
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1          7. Kühmstedt is informed and believes and thereon alleges that at all times
2    relevant hereto each of the Defendants was the agent, affiliate, officer, director,
3    manager, principal, alter-ego, and/or employee of the remaining Defendants and was
4    at all times acting within the scope of such agency, affiliation, alter-ego relationship
5    and/or employment; and actively participated in or subsequently ratified and/or
6    adopted each of the acts or conduct alleged, with full knowledge of all the facts and
7    circumstances, including, but not limited to, full knowledge of each violation of
8    Plaintiff’s rights and the damages to Kühmstedt proximately caused thereby.
9         CLAIMS RELATED TO PLAINTIFF’S SUBJECT PHOTOGRAPH
10         8. Kühmstedt is a renowned professional photographer specializing in
11   celebrity and portrait photography. Kühmstedt’s work has been widely published and
12   displayed internationally and has featured such world-famous celebrities as Christina
13   Aguilera, Justin Timberlake, and the Red Hot Chili Peppers.
14         9. Kühmstedt created and owns the original photograph of famed musician
15   Janet Jackson depicted in Exhibit A attached hereto (the “Subject Photograph”).
16         10. Kühmstedt is the sole owner of the exclusive rights, title, interests, and
17   privileges in and to the Subject Photograph.
18         11. The Subject Photograph is registered with the U.S. Copyright Office.
19         12. Prior to the acts complained of herein, the Subject Photograph was
20   published to the public and otherwise made widely available to viewers.
21         13. Upon information and belief, Kühmstedt alleges that Defendants, and each
22   of them, have willfully copied, reproduced, and distributed the Subject Photograph
23   for commercial benefit by, without limitation, reproducing the Subject Photograph
24   online, including without limitation at website www.papermag.com, which is owned
25   and operated by Papermag. True and correct copies and screen captures of
26   Defendants’ unauthorized uses are depicted in Exhibit B attached hereto
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                                            COMPLAINT
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1    (“Infringing Content”). These copies and screen captures represent non-inclusive
2    exemplars of the Infringing Content.
3          14. Upon information and belief, Kühmstedt alleges that Defendants, and each
4    of them, had access to the Subject Photograph, including through magazines,
5    publications, and Kühmstedt’s numerous online profiles and features, online
6    publications and press featuring Kühmstedt’s work, Kühmstedt’s social media
7    accounts, and/or through viewing the Subject Photograph on third-party websites and
8    search engines.
9          15. Kühmstedt has not in any way authorized Defendants, or any of them, to
10   copy, reproduce, duplicate, disseminate, distribute, create derivative works of, or
11   otherwise exploit the Subject Photograph. The Defendant did not contact Kühmstedt
12   and obtain a license to use the Subject Photograph before the exploitation at issue.
13         16. On September 13, 2021, Kühmstedt, through his attorneys, sent a letter to
14   Defendant notifying the Defendant of their infringing activity and demanding that
15   Defendant cease and desist all infringing uses of Kühmstedt’s copyrighted work.
16   Defendant failed to resolve the matter, necessitating this action.
17                              FIRST CLAIM FOR RELIEF
18            (For Copyright Infringement - Against All Defendants, and Each)
19         17. Kühmstedt repeats, re-alleges, and incorporates herein by reference as
20   though fully set forth, the allegations contained in the preceding paragraphs.
21         18. Kühmstedt alleges on information and belief that Defendants, and each of
22   them, accessed the Subject Photograph by, without limitation, viewing the Subject
23   Photograph in magazines or other publications, or on Kühmstedt’s website or social
24   media profiles, on other sites online, in physical publications, or in Kühmstedt’s
25   numerous online profiles. Access is further evidenced by the Subject Photograph’s
26   exact reproduction in the Infringing Content.
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1          19. Kühmstedt alleges on information and belief that Defendants, and each of
2    them, copied, reproduced, displayed, and distributed the Subject Photographs online
3    at least on the website(s) depicted in Exhibit B hereto.
4          20. Kühmstedt alleges on information and belief that Defendants, and each of
5    them, infringed Plaintiff’s copyrights by creating infringing derivative works from
6    the Subject Photograph and publishing same to the public for commercial benefit.
7          21. Due to Defendants’, and each of their, acts of infringement, Kühmstedt has
8    suffered general and special damages in an amount to be established at trial.
9          22. Due to Defendants’ acts of copyright infringement as alleged herein,
10   Defendants, and each of them, have obtained direct and indirect profits they would
11   not otherwise have realized but for their infringement of Kühmstedt’s rights in the
12   Subject Photograph. As such, Kühmstedt is entitled to disgorgement of Defendants’
13   profits directly and indirectly attributable to Defendants’ infringement of
14   Kühmstedt’s rights in the Subject Photograph in an amount to be established at trial.
15         23. Kühmstedt alleges on information and belief that Defendants, and each of
16   them, have committed acts of copyright infringement, as alleged above, which were
17   willful, intentional and malicious, which further subjects Defendants, and each of
18   them, to liability for statutory damages under Section 504(c)(2) of the Copyright Act
19   in the sum of up one hundred fifty thousand dollars ($150,000.00) per infringement
20   and/or a preclusion from asserting certain equitable and other defenses.
21                            SECOND CLAIM FOR RELIEF
22   (For Vicarious and/or Contributory Copyright Infringement – Against all Defendants,
23                                         and Each)
24         24. Kühmstedt repeats, re-alleges, and incorporates herein by reference as
25   though fully set forth, the allegations contained in the preceding paragraphs of this
26   Complaint.
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                                           COMPLAINT
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1          25. Kühmstedt alleges on information and belief that Defendants knowingly
2    induced, participated in, aided and abetted in and profited from the illegal
3    reproduction and distribution of the Subject Photograph as alleged hereinabove.
4    Such conduct included, without limitation, publishing photographs obtained from
5    third parties that Defendant(s) knew, or should have known, were not authorized to
6    be published by Defendant(s); publishing the Infringing Content on affiliate, third-
7    party, and social media sites; and distributing the Infringing Content to third-parties
8    for further publication.
9          26. Kühmstedt alleges on information and belief that Defendants, and each of
10   them, are vicariously liable for the infringement alleged herein because they had the
11   right and ability to supervise the infringing conduct and because they had a direct
12   financial interest in the infringing conduct. Specifically, Defendants, and each of
13   them, received revenue in connection with the Infringing Content, and were able to
14   supervise the distribution, broadcast, and publication of said content.
15         27. Due to Defendants’, and each of their, acts of contributory and vicarious
16   infringement as alleged above, Kühmstedt has suffered general and special damages
17   in an amount to be established at trial.
18         28. Due to Defendants’ acts of copyright infringement as alleged herein,
19   Defendants, and each of them, have obtained direct and indirect profits they would
20   not otherwise have realized but for their infringement of Kühmstedt’s rights in the
21   Subject Photograph. As such, Kühmstedt is entitled to disgorgement of Defendants’
22   profits directly and indirectly attributable to Defendants’ infringement of his rights in
23   the Subject Photograph, in an amount to be established at trial.
24         29. Kühmstedt alleges on information and belief that Defendants, and each of
25   them, have committed acts of copyright infringement, as alleged above, which were
26   willful, intentional and malicious, which further subjects Defendants, and each of
27   them, to liability for statutory damages under Section 504(c)(2) of the Copyright Act
28                                              6
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1    in the sum of up to $150,000.00 per infringement and/or a preclusion from asserting
2    certain equitable and other defenses.
3                              THIRD CLAIM FOR RELIEF
4         (For Violations of the 17 U.S.C. §1202 – Against all Defendants, and Each)
5          30. Kühmstedt repeats, re-alleges, and incorporates herein by reference as
6    though fully set forth, the allegations contained in the preceding paragraphs.
7          31. The Subject Photograph was routinely published with attribution, credit,
8    and other copyright management information identifying Kühmstedt as the author,
9          32. Kühmstedt alleges on information and belief that Defendants, and each of
10   them, removed Kühmstedt’s copyright management information, as described above,
11   from the Subject Photograph, and/or added false copyright management information
12   to the Subject Photograph, before distributing and publishing same to the public.
13         33. Kühmstedt alleges on information and belief that Defendants, and each of
14   them, distributed and published the Subject Photograph via websites bearing the
15   URL(s) depicted in Exhibit B hereto, under its own name, and removing
16   Kühmstedt’s attribution information, including without limitation his name and/or
17   metadata.
18         34. The aforementioned facts constitute “copyright management information”
19   as that phrase is defined in 17 U.S.C. §1202(c) and is false.
20         35. When Defendants distributed and published the Subject Photograph, they
21   knowingly provided and/or distributed false copyright management information in
22   violation of 17 U.S.C. §1202(a). As a result of the foregoing, Kühmstedt has been
23   damaged and may recover those damages as well as Defendants’ profits, and/or
24   statutory damages, and attorneys’ fees under 17 U.S.C. §1203.
25   //
26   //
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                                             COMPLAINT
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1                                  PRAYER FOR RELIEF
2          Wherefore, Kühmstedt prays for judgment as follows:
3          Against all Defendants, and Each, with Respect to Each Claim for Relief:
4             a. That Defendants—each of them—and their respective agents and
5                servants be enjoined from reproducing, displaying, distributing,
6                disseminating, or otherwise exploiting the Subject Photograph or
7                otherwise violating Kühmstedt’s exclusive rights in the Subject
8                Photograph;
9             b. That Kühmstedt be awarded all profits of Defendants, and each of them,
10               plus all losses of Plaintiff, the exact sum to be proven at the time of trial,
11               or, if elected before final judgment, statutory damages as available under
12               the Copyright Act, 17 U.S.C. § 101, 504, et seq.;
13            c. That Kühmstedt be awarded its attorneys’ fees as available under the
14               Copyright Act U.S.C. § 101, 505, et seq.;
15            d. That Kühmstedt be awarded pre-judgment interest as allowed by law;
16            e. That Kühmstedt be awarded the costs of this action; and
17            f. That Kühmstedt be awarded such further legal and equitable relief as the
18               Court deems proper.
19      Kühmstedt demands a jury trial on all issues so triable pursuant to Fed. R. Civ. P.
20   38 and the 7th Amendment to the United States Constitution.
21
                                            Respectfully submitted,
22

23   Dated: December 30, 2021        By:    /s/ Scott Alan Burroughs
24
                                            Scott Alan Burroughs, Esq.
                                            Frank R. Trechsel Esq.
25                                          DONIGER/BURROUGHS
26
                                            Attorneys for Plaintiff

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                                            COMPLAINT
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1
                                     EXHIBIT A
2                                 Subject Photograph
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                                       COMPLAINT
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1                                      EXHIBIT B
                                     Infringing Content
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